      Case: 1:18-cv-07760 Document #: 32 Filed: 02/27/19 Page 1 of 1 PageID #:302



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Dynamite Marketing, Inc.                      )
                                              )       Case No. 18-cv-7760
v.                                            )
                                              )       Judge: Hon. John J. Tharp
THE PARTNERSHIPS and                          )
UNINCORPORATED ASSOCIATIONS                   )       Magistrate: Hon. Young B. Kim
IDENTIFIED ON SCHEDULE “A”                    )
                                              )
                                              )

                                       Voluntary Dismissal

        Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Dynamite Marketing, Inc.,

voluntarily dismiss any and all claims against defendants without prejudice:

 Doe    Store Name                                Merchant ID
 1      gracemetal                                gracemetal
 2      henstrong                                 henstrong
 49     yonghuacompany                            558026be1caadc27fc83c444
 81     yusushop                                  584516ac7f6c0d4cbf3563c7
 90     371656016                                 580af944e6119c3e6c854ad6

Dated: February 25, 2019
                                              Respectfully submitted,



                                              By:       s/David Gulbransen/
                                                      David Gulbransen
                                                      Attorney of Record

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